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 1
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 5

 6    ATTORNEY FOR Defendant,
      SAY ENG
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 8
                                   UNITED STATES DISTRICT COURT
 9
                                  EASTERN DISTRICT OF CALIFORNIA
10
                                                 ******
11    UNITED STATES OF AMERICA,                           Case No.: 1:13-CR-00136-AWI-BAM
12
                     Plaintiff,                           AMENDED STIPULATION TO
13                                                        CONTINUE TRIAL CONFIRMATION
             v.                                           AND JURY TRIAL AND ORDER
14
                                                          Date: March 29, 2016
15    SAY ENG,                                            Time: 8:30 a.m.
                                                          Courtroom: 4
16                   Defendant.                           Hon. Anthony W. Ishii
17

18           IT IS HEREBY STIPULATED by the parties hereto, through their respective

19    attorneys of record, that the Trial Confirmation, presently set for March 14, 2016, at 1:30

20    p.m., and the Jury Trial, presently set for March 29, 2016, be vacated. The parties further

21    stipulate that a Trial Confirmation be set for June 13, 2016, at 10:00 a.m. and a Jury Trial be

22    set for July 26, 2016, at 8:30 a.m.

23           Good cause exists for this request because additional discovery has been mailed, but not

24    received and needs to be reviewed. Counsel needs additional time for investigation and trial

25    preparation.

26           Based on the above-stated findings, the ends of justice served by vacating the trial date

27    and continuing this matter for status conference as requested outweigh the interest of the public

28    and the defendant in a trial within the original date prescribed by the Speedy Trial Act.

                                                      1
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 1          For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et

 2    seq., within which trial must commence, the time period of March 14, 2016, through June 13,

 3    2016, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) because it

 4    results from a continuance granted by the Court at defendant’s request on the basis of the

 5    Court's finding that the ends of justice served by taking such action outweigh the best interest

 6    of the public and the defendant in a speedy trial.

 7             So Stipulated:

 8                                               Respectfully submitted,

 9    Dated:       February 8, 2016       By: /s/Grant B. Rabenn
                                              GRANT B. RABENN
10                                            Assistant United States Attorney
11

12

13    Dated:       February 8, 2016       By: /s/Anthony P. Capozzi
                                              ANTHONY P. CAPOZZI
14                                            Attorney for SAY ENG

15

16                                                 ORDER

17

18             IT IS SO ORDERED. Good cause having been shown, the Trial Confirmation set for

19    March 14, 2016, at 1:30 p.m. and the Jury Trial set for March 29, 2016, at 8:30 a.m. are hereby

20    vacated. Trial Confirmation is continued to June 13, 2016, at 10:00 a.m. and the Jury Trial is

21    continued to July 26, 2016, at 8:30 a.m. Additionally, time shall be excluded by stipulation

22    from the parties and pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv).

23

24    IT IS SO ORDERED.
25
      Dated:    February 8, 2016
26                                                 SENIOR DISTRICT JUDGE

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